UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------          X
                                                :
                                                : No. 1:20-cv-10300-JSR
PAUL NICKLEN, et al.,
                                                :
                          Plaintiffs,           :
                                                : ECF Case
                                                :
                   -against-                    :
                                                :
                                                :
MASHABLE, INC., et al.,                         :
                          Defendants.           :
                                                :
-------------------------------------           X


   MEMORANDUM OF LAW IN SUPPORT OF THE SINCLAIR DEFENDANTS’
       MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
               PURSUANT TO FED. R. CIV. P. 12(b)(6)




                                        Thomas B. Sullivan
                                        Joseph Slaughter
                                        BALLARD SPAHR LLP
                                        1675 Broadway, 19th Floor
                                        New York, NY 10019-5820
                                        Phone: (212) 850-6139
                                        Fax: (212) 223-1942
                                        sullivant@ballardspahr.com
                                        slaughterj@ballardspahr.com

                                        Counsel for Sinclair Defendants




                                        1
                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

RELEVANT FACTUAL ALLEGATIONS ....................................................................................3

ARGUMENT ...................................................................................................................................6

I.        STANDARD OF REVIEW .................................................................................................6

II.       SINCLAIR’S EMBEDDING OF THE VIDEO DID NOT INFRINGE ANY
          OF NICKLEN’S EXCLUSIVE RIGHTS UNDER THE COPYRIGHT ACT ...................6

III.      SINCLAIR’S USE OF THE VIDEO WAS A FAIR USE ................................................11

          A.         The Purpose and Character of Sinclair’s Use Favors a Finding of Fair
                     Use .........................................................................................................................12

          B.         The Nature of the Copyrighted Work Favors a Finding of Fair Use .....................16

          C.         The Amount and Substantiality of the Portion Used Favors a Finding
                     of Fair Use..............................................................................................................18

          D.         The Effect of the Use Upon the Potential Market Favors a Finding of
                     Fair Use ..................................................................................................................19

CONCLUSION ..............................................................................................................................21




                                                                        i
                                                 TABLE OF AUTHORITIES

Cases                                                                                                                                Page(s)

Arica Inst., Inc. v. Palmer,
    970 F.2d 1067 (2d Cir. 1992)...................................................................................................16

Arista Records LLC v. USENET.com,
    633 F. Supp. 2d 124 (S.D.N.Y. 2009)..........................................................................10, 11, 20

Arrow Prods., Ltd. v. Weinstein Co.,
   44 F. Supp. 3d 359 (S.D.N.Y. 2014)........................................................................................16

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................6

Authors Guild, Inc. v. HathiTrust,
   755 F.3d 87 (2d Cir. 2014).......................................................................................................18

Authors Guild v. Google, Inc.,
   804 F.3d 202 (2d Cir. 2015)...............................................................................................12, 16

Barcroft Media, Ltd. v. Coed Media Grp., LLC,
   297 F. Supp. 3d 339 (S.D.N.Y. 2017)......................................................................................13

Bechler v. MVP Grp. Int’l, Inc.,
   No. 16-CV-8837 (LAP), 2021 U.S. Dist. LEXIS 41874 (S.D.N.Y. Mar. 5,
   2021) ..................................................................................................................................11, 20

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................6

Bill Graham Archives, LLC v. Dorling Kindersley Ltd.,
    386 F. Supp. 2d 324 (S.D.N.Y. 2005)..........................................................................16, 18, 19

Blanch v. Koons,
   467 F.3d 244 (2d Cir. 2006).........................................................................................12, 16, 18

Boesen v. United Sports Publ’ns, Ltd.,
   No. 20-CV-1552 (ARR) (SIL), 2020 U.S. Dist. LEXIS 203682 (E.D.N.Y.
   Nov. 2, 2020) ................................................................................................................... passim

Brown v. Netflix, Inc.,
   462 F. Supp. 3d 453 (S.D.N.Y. 2020)......................................................................................12

BWP Media USA, Inc. v. Gossip Cop Media, Inc.,
  196 F. Supp. 3d 395 (S.D.N.Y. 2016)......................................................................................17




                                                                       ii
Campbell v. Acuff-Rose Music, Inc.,
  510 U.S. 569 (1994) .....................................................................................................12, 13, 18

Capitol Records, LLC v. ReDigi Inc.,
   910 F.3d 649 (2d Cir. 2018).....................................................................................................19

Cariou v. Prince,
   714 F.3d 694 (2d Cir. 2013)............................................................................................. passim

Castle Rock Entm’t, Inc. v. Carol Publ’g Grp., Inc.,
   150 F.3d 132 (2d Cir. 1998).........................................................................................11, 12, 21

Clark v. Transp. Alts., Inc.,
   18 Civ. 9985 (VM), 2019 U.S. Dist. LEXIS 46274 (S.D.N.Y. Mar. 18, 2019) ................12, 20

Davis v. The Gap, Inc.,
   246 F.3d 152 (2d Cir. 2001).....................................................................................................12

Flava Works, Inc. v. Gunter,
   689 F.3d 754 (7th Cir. 2012) .....................................................................................................8

Goldman v. Breitbart News Network, LLC,
   302 F. Supp. 3d 585 (S.D.N.Y. 2018)..................................................................................9, 10

Grady v. Iacullo,
   No. 13-CV-00624-RM-KMT, 2016 U.S. Dist. LEXIS 51584 (D. Colo. Apr.
   18, 2016) ....................................................................................................................................9

Konangataa v. ABC,
   Nos. 16-cv-7382, 16-cv-7383 & 16-cv-7472 (LAK), 2017 U.S. Dist. LEXIS
   95812 (S.D.N.Y. June 21, 2017) ..............................................................................................15

Leibovitz v. Paramount Pictures Corp.,
   137 F.3d 109 (2d Cir. 1998).....................................................................................................18

Leveyfilm, Inc. v. Fox Sports Interactive Media, LLC,
   No. 13 C 4664, 2014 U.S. Dist. LEXIS 92809 (N.D. Ill. July 8, 2014) ....................................9

Live Face on Web, LLC v. Biblio Holdings LLC,
   No. 15 Civ. 4848 (NRB), 2016 U.S. Dist. LEXIS 124198 (S.D.N.Y. Sept. 13,
   2016) ..........................................................................................................................................8

McGucken v. Newsweek LLC,
  464 F. Supp. 3d 594 (S.D.N.Y. 2020)......................................................................................15

MyPlayCity, Inc. v. Conduit Ltd.,
  No. 10 Civ. 1615 (CM), 2012 U.S. Dist. LEXIS 47313 (S.D.N.Y. Mar. 30,
  2012) ......................................................................................................................................8, 9


                                                                        iii
N. Jersey Media Grp. Inc. v. Pirro,
    74 F. Supp. 3d 605 (S.D.N.Y. 2015)..................................................................................17, 18

NXIVM Corp. v. Ross Inst.,
   364 F.3d 471 (2d Cir. 2004)...............................................................................................15, 19

Perfect 10, Inc. v. Amazon.com, Inc.,
   508 F.3d 1146 (9th Cir. 2007) .........................................................................................7, 8, 10

Peter v. Gaito Architecture, LLC v. Simone Dev. Corp.,
   602 F.3d 57 (2d Cir. 2010).........................................................................................................6

R.F.M.A.S., Inc. v. So,
   619 F. Supp. 2d 39 (S.D.N.Y. 2009)..........................................................................................7

Samuels v. Air Transport Local 504,
   992 F.2d 12 (2d Cir. 1993).........................................................................................................6

Schwartzwald v. Oath Inc.,
   No. 19-CV-9938 (RA), 2020 U.S. Dist. LEXIS 165641 (S.D.N.Y. Sep. 10,
   2020) ..................................................................................................................................12, 17

Sing for Serv., LLC v. United Serv. Contract Grp., LLC,
   No. 20-cv-8458 (JSR), 2021 U.S. Dist. LEXIS 2999 (S.D.N.Y. Jan. 7, 2021) .........................6

Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P.,
   756 F.3d 73 (2d Cir. 2014).................................................................................................12, 15

TCA Television Corp. v. McCollum,
  839 F.3d 168 (2d Cir. 2016)...............................................................................................11, 12

Walsh v. Townsquare Media, Inc.,
   464 F. Supp. 3d 570 (S.D.N.Y. 2020).............................................................................. passim

Wright v. Warner Books, Inc.,
   953 F.2d 731 (2d Cir. 1991).....................................................................................................15

Statutes

17 U.S.C. § 101 ................................................................................................................................7

17 U.S.C. § 107 ..................................................................................................................11, 15, 18

Other Authorities

Federal Rules of Civil Procedure Rule 12(b)(6) ....................................................................1, 6, 11

2 Howard B. Abrams, The Law of Copyright § 15:52 (2006) .......................................................16



                                                                       iv
Pierre N. Leval, Toward a Fair Use Standard, 103 Harv. L. Rev. 1105 (1990) ...........................13




                                                   v
       Defendants Sinclair Broadcast Group, Inc. (“Sinclair Parent”), and various of its

corporate subsidiaries (the “Sinclair Affiliates” and, together with Sinclair Parent, “Sinclair” or

the “Sinclair Defendants”), respectfully submit this memorandum of law in support of their

motion to dismiss the complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

                                PRELIMINARY STATEMENT

       On February 24, 2021, Plaintiff Paul Nicklen (“Nicklen” or “Plaintiff”) filed an 84-page,

321-paragraph, Second Amended Complaint (“SAC”) (ECF No. 72) against Sinclair Parent, a

company that owns local television stations throughout the country, and the Sinclair Affiliates—

118 corporate entities purportedly associated with Sinclair Parent and involved in the operation

of or holding the FCC licenses for certain of its stations.1 The core allegations in the lawsuit


1
 The Sinclair Affiliates are: WCWN Licensee, LLC, WCWN, LLC, KDSM, LLC, KDSM
Licensee, LLC, Chesapeake Media I, LLC, KRNV, LLC, KRXI, LLC, KVCW, LLC, KVMY,
LLC, KATV, LLC, KATV Licensee, LLC, KTUL, LLC, KTUL Licensee, LLC, WLUK
Licensee LLC, WJAR Licensee LLC, WCWF Licensee LLC, WBMA Licensee, LLC, WSET
Licensee, LLC, WVTV Licensee, LLC, Raleigh (WRDC-TV) Licensee, LLC, Birmingham
(WBAM-TV) Licensee, Inc., WICS Licensee, LLC, KOKH LLC, KOKH Licensee, LLC,
Milwaukee Television, LLC, WCGV Licensee, LLC, Sinclair Media III, Inc., WCHS Licensee,
LLC, WVAH Licensee, LLC, Sinclair Properties, LLC, WDKA Licensee, LLC, WMMP
Licensee, L.P. (incorrectly sued as WMMP Licensee, LLC), Sinclair Television of El Paso, LLC,
KDBC Licensee, LLC, WGME, Inc., WGME Licensee, LLC, WSMH, Inc., WSMH Licensee,
LLC, WUCW Licensee, LLC, KABB Licensee, LLC, KDNL Licensee, LLC, KEYE Licensee,
LLC, KFDM Licensee, LLC, KFOX Licensee, LLC, KGAN Licensee, LLC, KHGI Licensee,
LLC, KHQA Licensee, LLC, KOCB Licensee, LLC, KPTH Licensee, LLC, KRCG Licensee,
LLC, KSAS Licensee, LLC, KTVL Licensee, LLC, KTVO Licensee, LLC, KUTV Licensee,
LLC, KVII Licensee, LLC, WACH Licensee, LLC, WEAR Licensee, LLC, WFGX Licensee,
LLC, WFXL Licensee, LLC, WGFL Licensee, LLC, WGXA Licensee, LLC, WKRC Licensee,
LLC, WLFL Licensee, LLC, WLOS Licensee, LLC, WMSN Licensee, LLC, WNAB Licensee,
LLC, WNWO Licensee, LLC, WOAI Licensee, LLC, WOLF Licensee, LLC, WPBN Licensee,
LLC, WPDE Licensee, LLC, WPEC Licensee, LLC, WPGH Licensee, LLC, WRGB Licensee,
LLC, WRLH Licensee, LLC, WSYX Licensee, LLC (incorrectly sued as WYSX, LLC), WTGS
Licensee, LLC, WTOV Licensee, LLC, WTTO Licensee, LLC, WTVC Licensee, LLC, WTVX
Licensee, LLC (incorrectly sued as WVTX Licensee, LLC), WTVZ Licensee, LLC, WUHF
Licensee, LLC, WUTV Licensee, LLC, WUXP Licensee, LLC, WWHO Licensee, LLC,
WWMT Licensee, LLC, WXLV Licensee, LLC, WZTV Licensee, LLC, Sinclair Television of

                                                  1
concern supposed copyright infringement based on the embedding of Nicklen’s own public

social media posts in an article (the “Article”) about those very posts. The Article, entitled

“Starving polar bear goes viral in heartbreaking video,” reports on the rapid, “viral”

dissemination of Nicklen’s social media posts containing video of an emaciated polar bear he

encountered in the Canadian Arctic (the “Video”), as well as Nicklen’s own written commentary

on the Video and his belief that climate change contributed to the bear’s plight. In so reporting,

the Article embedded the allegedly copyrighted Video. According to Plaintiff, the Article was

published on the web sites of each of the 118 Sinclair Affiliates named in the SAC.

       The SAC should be dismissed against all of the Sinclair Defendants for two independent

reasons. First, because the Article does not actually display the allegedly copyrighted material,

there has been no infringement. As courts in this District and across the country have found,

simply “embedding” on one website a social media post that is publicly available on another

website does not constitute copyright infringement as a matter of law. Second, the SAC should

be dismissed as against the Sinclair Defendants because the alleged infringement was a fair use.

Plaintiff’s theory of the case is that Sinclair Parent and the Sinclair Affiliates infringed Nicklen’s

copyright merely by reproducing his own social media posts in an Article reporting on those very

posts. The law, however, says otherwise. In a series of recent cases, Courts in this Circuit have



Abilene, LLC, Sinclair Television of Bristol, LLC, Sinclair Television of Montana, LLC, WCTI
Licensee, LLC, Sinclair Television of Fresno, LLC, KMPH Licensee, LLC, WJAC Licensee,
LLC, Sinclair Television of Omaha, LLC, KPTM Licensee, LLC, Sinclair Television of
Bakersfield, LLC, Sinclair Television of Portland, LLC, Sinclair Television of Washington, Inc.
(inadvertently named twice in the SAC), Sinclair Kennewick Licensee, LLC, Sinclair Seattle
Licensee, LLC, Sinclair Boise Licensee, LLC, Sinclair Yakima Licensee, LLC, Sinclair
Lewiston Licensee, LLC, Sinclair Eugene Licensee, LLC, KAME, LLC, WICD Licensee, LLC,
KFXA Licensee LLC, KUPN Licensee LLC, KUQI Licensee, LLC, WSTQ Licensee, LLC,
WUPN Licensee, LLC, Sinclair Television of California, LLC, Sinclair Television of Seattle,
Inc., Sinclair Television of Oregon, LLC, and Sinclair La Grande Licensee, LLC.



                                                  2
consistently found that, where a publication reports on a social media post itself that happens to

contain copyrighted material, the reproduction of that post is protected by the doctrine of fair

use. That is exactly the case here, and the SAC should therefore be dismissed against Sinclair.

                          RELEVANT FACTUAL ALLEGATIONS2

       Despite its length, the core factual allegations in Plaintiff’s Second Amended Complaint

are simple. Plaintiff is a professional nature photographer and conservationist who, in a July

2017 expedition to the Canadian Arctic, took a video (the “Video”) of a starving polar bear.

SAC ¶¶ 5(a), 150. On December 5, 2017, Plaintiff posted the Video to his public Instagram and

Facebook accounts, along with text describing the circumstances in which he took the footage,

its emotional impact on him, and his views on the links between the bear’s plight and climate

change. Id. ¶ 151. According to the SAC, these posts went “viral,” and between December 7

and 13, 2017, “hundreds or perhaps thousands” of online publishers began displaying the Video

without Plaintiff’s permission. Id. ¶¶ 5(c), 156.

       Plaintiff alleges that each of the defendants in this case, including the Sinclair

Defendants, only made use of the Video by embedding it in their sites. See id. ¶ 166

(“Defendants stole Nicklen’s Video . . . by using the Instagram or Facebook API tool to ‘embed’

each in certain posts on Defendants’ respective websites”); id. ¶ 283 (“Each Defendant, without

the permission, license or consent from Plaintiffs, embedded . . . Nicklen’s single copyrighted

Video . . . as alleged above onto Defendants’ websites using the Instagram or Facebook API,

causing Nicklen’s Video . . . to be displayed on the Defendant’s website and distributing and

displaying the Video . . . to the public.”). Embedding, also known as in-line linking, is the use of



2
 For this motion only, Sinclair accepts as true the well-pleaded allegations of the Amended
Complaint.


                                                    3
computer code to direct a user’s browser to call up a social media post, photograph or video from

the site where it is stored and cause is it to appear in the context of a separate publisher’s site.

When a social media post is embedded, the underlying video file it contains remains stored on

the social media company’s server. Id. ¶ 160; see also Boesen v. United Sports Publ’ns, Ltd.,

No. 20-CV-1552 (ARR) (SIL), 2020 U.S. Dist. LEXIS 203682, at *3 n.1 (E.D.N.Y. Nov. 2,

2020) (“To embed an image, a coder or web designer adds an ‘embed code’ to the HTML

instructions; this code directs the browser to the third-party server to retrieve the image. The

image appears on the new page, but links to and remains hosted on the third-party server or

website.” (internal marks and citations omitted)).

        As specifically relevant to the instant motion, the SAC names 118 corporate entities that

are allegedly affiliated with Sinclair Parent. SAC ¶¶ 11, 172.3 The SAC further alleges that each

of these Sinclair Affiliates is the owner of a local Sinclair television station website that

embedded the Video at issue in this case. Id. ¶ 173.4 According to the SAC, each of the Sinclair

Affiliates used the Video on their specific TV station website as a part of the same Article. Id.




3
  In addition to the 118 named Sinclair Affiliates and Sinclair Parent, Plaintiff purports to bring a
putative “defendant” class action against all Sinclair-affiliated entities that embedded the Video
in the Article, whether or not named in the SAC. See SAC ¶¶ 135-149. Regardless of whether
Plaintiffs can in fact succeed in have a “Sinclair” class certified (Sinclair does not believe that
they can), if the named Sinclair Defendants succeed in either their “embedding” or fair use
arguments for dismissal, that ruling would be equally applicable to any Sinclair-affiliated entities
that are not named in the Amended Complaint, but that are purportedly part of the Sinclair
defendant class. In other words, if this motion is granted, all Sinclair entities, not just those
named in the caption, should be dismissed from the case.
4
 In reality, many of the entities sued are simply the holders of FCC licenses, and do not actually
control the operation of the stations or websites.



                                                   4
¶¶ 179-269.5 The short Article, an example of which is attached as an exhibit to the Second

Amended Complaint (with highlighting added by Plaintiff), is entitled “Starving polar bear goes

viral in heartbreaking video.” SAC, Ex. 5. It reports on the viral dissemination of the Video,

noting that it has been “grabbing attention” and that Plaintiff’s Facebook post had garnered over

1 million views in just the few days between its posting on December 5 and the publication of

the Article on December 11. Id. The Article also reports on Nicklen’s posting of the Video and

accompanying commentary on Facebook, as well as subsequent remarks he provided to National

Geographic regarding the Video and the circumstances in which he took it. Id. Each Sinclair

Affiliate is alleged only to have embedded Nicklen’s original social media posts. Id. ¶ 135

(proposing a class consisting of “Sinclair-affiliated entities” who “published, embedded, or

caused to be displayed” Nicklen’s Video “using the Instagram or Facebook-embedding tool”);

¶ 171 (“Defendant WCWN Licensee . . . embedded Nicklen’s Video . . . in a post titled ‘Starving

Polar Bear Goes Viral in Heartbreaking Video,’ published on December 11, 2017”).6

       On February 18, 2021, this Court held an initial pre-trial conference at which it granted

Nicklen permission to file his Second Amended Complaint and set a briefing schedule on the

defendants’ anticipated dismissal motions, requiring them to be filed no later than March 8,

2021. See Dkt. 70. This timely motion followed.




5
  For the lion’s share of the Sinclair Affiliates, the SAC includes the URLs where the allegedly
infringing content was found. For others, the SAC alleges that they had displayed the same
Article and Video, but have since taken them down. SAC ¶ 270.
6
 The SAC alleges that the conduct of Defendant WCWN Licensee, LLC is “typical for the rest
of the Defendant Sinclair-affiliated class members,” SAC ¶ 138; see also id. ¶ 171 (stating the
other Sinclair Affiliates are “similarly situated” to WCWN).



                                                5
                                            ARGUMENT

  I.    STANDARD OF REVIEW

        To survive a motion to dismiss pursuant to Rule 12(b)(6), “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Sing for Serv., LLC v. United Serv. Contract Grp., LLC, No. 20-cv-8458 (JSR), 2021 U.S. Dist.

LEXIS 2999, at *6 (S.D.N.Y. Jan. 7, 2021) ) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citation omitted)). The “[f]actual allegations must be enough to raise a right to relief

above the speculative level,” and the complaint must plead “enough fact[s] to raise a reasonable

expectation that discovery will reveal evidence of [plaintiff’s claim].” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555-56 (2007). “A pleading that offers ‘labels and conclusions’ or ‘a

formulaic recitation of the elements of a cause of action will not do.’ Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557). On a motion to dismiss, in addition to the

facts alleged in the pleadings, a court may consider “documents attached as exhibits or

incorporated by reference in the pleadings and matters of which judicial notice may be taken.”

Samuels v. Air Transport Local 504, 992 F.2d 12, 15 (2d Cir. 1993). “In copyright infringement

actions, the works themselves supersede and control contrary descriptions of them, including any

contrary allegations, conclusions or descriptions of the works contained in the pleadings.” Peter

v. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir. 2010) (internal marks

and citations omitted).

 II.    SINCLAIR’S EMBEDDING OF THE VIDEO DID NOT INFRINGE ANY OF
        NICKLEN’S EXCLUSIVE RIGHTS UNDER THE COPYRIGHT ACT

    The Sinclair Defendants cannot have committed copyright infringement because their only

alleged conduct – the embedding of the Video in the Article allegedly posted on their websites –



                                                    6
does not constitute infringement as a matter of law. “To be held liable for direct infringement

under the Copyright Act, a party must be found to have violated one of the copyright owners’

‘exclusive rights’ . . . .” R.F.M.A.S., Inc. v. So, 619 F. Supp. 2d 39, 66-67 (S.D.N.Y. 2009).

Here, Nicklen alleges that each Sinclair Affiliate violated his exclusive right to display his

Video. See SAC ¶ 173 (“The infringing acts described in this second amended complaint are

each website’s illicit display of Plaintiff’s copyrighted Video.”); see also id. ¶¶ 177, 179-270.

But when a website embeds a third party’s social media post, it does not actually publicly display

any work that post contains, or violate any other exclusive right for that matter. The website

owner has instead only reproduced computer code telling a web browser to retrieve content that

remains hosted on the original social media site.

       The United States Court of Appeals for the Ninth Circuit articulated this rule – the so-

called “server test” – in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007). In

formulating the server test, the court began by looking at the text of the Copyright Act itself. As

the court explained, the word “display” in the Act “means ‘to show a copy of it, either directly or

by means of a film, slide, television image, or any other device or process.’” Id. at 1160 (quoting

17 U.S.C. § 101). A copy is a “‘material object[] . . . in which a work is fixed by any method

now known or later developed, and from which the work can be perceived, reproduced, or

otherwise communicated, either directly or with the aid of a machine or device.’” Id. (quoting

17 U.S.C. § 101). A work is “‘fixed . . . when its embodiment in a copy or phonorecord, by or

under the authority of the author, is sufficiently permanent or stable to permit it to be perceived,

reproduced, or otherwise communicated for a period of more than transitory duration.’” Id.

(quoting 17 U.S.C. § 101).




                                                  7
         The Ninth Circuit determined that a work displayed by computer is “fixed” when it is

stored on a computer server, and the version of the work “stored in the computer [server] is the

‘copy’ of the work for purposes of copyright law.” Id. The work is displayed when the server’s

owner:

         uses the computer to fill the computer screen with the photographic image stored
         on that computer, or by communicating the stored image electronically to another
         person’s computer. In sum, based on the plain language of the statute, a person
         displays a photographic image by using a computer to fill a computer screen with
         a copy of the photographic image fixed in the computer’s memory.

Id. (internal citation omitted).

         When a website embeds a work, it does not store that work on its own servers and

therefore “does not have a copy of the images for purposes of the Copyright Act.” Id. It instead

merely “provides HTML instructions that direct a user’s browser to a [separate] website

publisher’s computer that stores the [image or work].” Id. at 1161. The court noted that this is

“not equivalent to showing a copy” because (1) the HTML instructions are merely “lines of

text,” not the work itself, and (2) the instructions merely “give[] the address of the [work] to the

user’s browser” which then interacts with another computer, causing that work “to appear on the

user’s computer screen.” Id. While embedding “may cause some computer users to believe they

are viewing a single . . . webpage,” this misconception is simply not a cognizable injury to a

copyright holder under the Copyright Act. Id.

         Numerous other courts, including at least two in this District, have adopted Perfect 10’s

“server test” to conclude that embedding content does not constitute copyright infringement as a

matter of law. See Flava Works, Inc. v. Gunter, 689 F.3d 754, 756 (7th Cir. 2012); Live Face on

Web, LLC v. Biblio Holdings LLC, No. 15 Civ. 4848 (NRB), 2016 U.S. Dist. LEXIS 124198, at

*9-12 (S.D.N.Y. Sept. 13, 2016); MyPlayCity, Inc. v. Conduit Ltd., No. 10 Civ. 1615 (CM),




                                                  8
2012 U.S. Dist. LEXIS 47313, at *35-42 (S.D.N.Y. Mar. 30, 2012); see also Grady v. Iacullo,

No. 13-CV-00624-RM-KMT, 2016 U.S. Dist. LEXIS 51584, at *14-25 (D. Colo. Apr. 18, 2016);

Leveyfilm, Inc. v. Fox Sports Interactive Media, LLC, No. 13 C 4664, 2014 U.S. Dist. LEXIS

92809, at *18 (N.D. Ill. July 8, 2014).

       Here, the SAC expressly alleges that each Sinclair Defendant infringed Nicklen’s

copyright by embedding his Video in the Article. See SAC ¶ 135; 171.7 The SAC admits that

the Video remained on the social media company’s server and not on any computer owned by

any Sinclair Defendant. Id. ¶ 160. Thus, because each of the Sinclair Defendants allegedly only

included lines of code, not a copy of the Video itself, on their websites, they did not display the

Video and therefore did not commit copyright infringement.

       The Sinclair Defendants acknowledge that a single decision in this District, Goldman v.

Breitbart News Network, LLC, 302 F. Supp. 3d 585 (S.D.N.Y. 2018), reaches a different

conclusion. In Goldman, Judge Forrest rejected the server test and found that “physical

possession of an image” was not “a necessary element to its display for purposes” of the

Copyright Act, id. at 594. The Court’s rationale was that embedding was a process that “resulted

in a transmission of the photos so that they could be visibly shown[,]” which it found sufficient

to constitute display of a fixed image. Id.

       The Sinclair Defendants respectfully suggest that Goldman was incorrectly decided and

that the Ninth Circuit’s analysis of this issue more closely follows the text, intent, and purpose of

the Copyright Act. The server test is not merely about, as the Goldman court would have it,



7
  While at times the Second Amended Complaint contends there may be other copies of the
Article and therefore additional Sinclair Defendants, Plaintiff concedes they are all similarly
situated. See SAC ¶¶ 137-38. Therefore, all claims against Sinclair, both those expressly
pleaded and those against the proposed Sinclair Class, should be dismissed.



                                                  9
“invisible technological details,” id. at 594, but rather who has the right to control a work at all.

By embedding the Video, Sinclair did not exercise control over Nicklen’s copyrighted work, but

simply provided a link back to a video that Nicklen himself chose to display publicly, and which

anyone with an internet connection could view for free. SAC ¶ 5.

       Moreover, Goldman is distinguishable from the instant case in at least one important

respect: whereas Goldman involved a photograph, this case involves a video. That distinction is

crucial because even the Goldman Court acknowledged that whether the website user has an

active role in viewing the allegedly infringing content is a “critical” factor in determining

whether the server test should apply. 302 F. Supp. 3d at 596 (noting that “the volitional act taken

by users of the services” at issue in Perfect 10 “provide[s] a sharp contrast to the facts at hand.”)

On these facts, just as the user in Perfect 10 had a “paramount” role because he or she had to

click on the thumbnail to display a full-sized image and thereby “engaged in a direct connection

with third-party websites,” see Goldman, 302 F. Supp. 3d at 596 (citation omitted), a user of the

Sinclair Affiliates’ websites would have had to click on the Video within the social media post in

order to play it. Thus, even if Goldman was rightly decided on its particular facts, the facts of

this case much more closely resemble Perfect 10, and the server test should therefore apply.

       Because, under that test, Nicklen cannot maintain a claim for direct infringement against

the Sinclair Defendants, he cannot also maintain claims for inducement of copyright

infringement, contributory copyright infringement, or vicarious copyright infringement by which

he contends that Sinclair Parent should be held liable for the infringing acts of its affiliates. See

SAC ¶¶ 292, 303, 312. “For all three theories of secondary copyright infringement, there must

be the direct infringement of a third party.” Arista Records LLC v. USENET.com, 633 F. Supp.




                                                  10
2d 124, 149 (S.D.N.Y. 2009); accord Bechler v. MVP Grp. Int’l, Inc., No. 16-CV-8837 (LAP),

2021 U.S. Dist. LEXIS 41874, at *14 (S.D.N.Y. Mar. 5, 2021).

       Therefore, due to the undisputed fact that Sinclair simply embedded the Video in

question, the Complaint should be dismissed in full.

III.   SINCLAIR’S USE OF THE VIDEO WAS A FAIR USE

       Even if this Court determines that the server test is not applicable here, Plaintiff’s

infringement claims should be dismissed against all of the Sinclair Defendants because the use

alleged against them was a non-infringing fair use of the Video. See 17 U.S.C. § 107 (“the fair

use of a copyrighted work . . . is not an infringement of copyright.”). The Copyright Act

specifies four non-exclusive factors that must be considered to determine whether a particular

use is fair: (1) the purpose and character of the use; (2) the nature of the copyrighted work; (3)

the amount and substantiality of the portion used; and (4) the effect of the use on the market for

the original. This is “an open-ended and context-sensitive inquiry.” Cariou v. Prince, 714 F.3d

694, 705 (2d Cir. 2013) (citations omitted). The “ultimate test of fair use, therefore, is whether

the copyright law’s goal of promoting the Progress of Science and useful Arts . . . would be

better served by allowing the use than by preventing it.” Castle Rock Entm’t, Inc. v. Carol Publ’g

Grp., Inc., 150 F.3d 132, 141 (2d Cir. 1998) (internal marks and citations omitted). For the

reasons explained below, all four factors weigh in favor of a finding of fair use.

       Importantly, courts in this Circuit have consistently affirmed that copyright infringement

claims may be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) where a comparison of the two

works at issue is sufficient to decide the question of fair use. See, e.g., TCA Television Corp. v.

McCollum, 839 F.3d 168, 178 (2d Cir. 2016) (“this court has acknowledged the possibility of fair

use being so clearly established by a complaint as to support dismissal of a copyright




                                                 11
infringement claim”); Brown v. Netflix, Inc., 462 F. Supp. 3d 453, 460-64 (S.D.N.Y. 2020)

(granting motion to dismiss based on fair use), appeal filed, No. 20-2007 (2d Cir. June 25, 2020);

Walsh v. Townsquare Media, Inc., 464 F. Supp. 3d 570, 574 (S.D.N.Y. 2020) (same);

Schwartzwald v. Oath Inc., No. 19-CV-9938 (RA), 2020 U.S. Dist. LEXIS 165641, at *30

(S.D.N.Y. Sep. 10, 2020) (same), appeal dismissed, No. 20-3552, 2020 U.S. App LEXIS 41054

(2d Cir. Dec. 3, 2020); Clark v. Transp. Alts., Inc., 18 Civ. 9985 (VM), 2019 U.S. Dist. LEXIS

46274, at *7-14 (S.D.N.Y. Mar. 18, 2019) (same).

       A. The Purpose and Character of Sinclair’s Use Favors a Finding of Fair Use

       The first statutory factor, the purpose and character of the use, is “[t]he heart of the fair

use inquiry.” Blanch v. Koons, 467 F.3d 244, 251 (2d Cir. 2006) (quoting Davis v. The Gap,

Inc., 246 F.3d 152, 174 (2d Cir. 2001)). The primary focus of the first fair use factor is “whether

and to what extent the new work is transformative,” Cariou, 714 F.3d at 705-06 (quoting

Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994)), meaning whether the new use

“communicates something new and different from the original, or expands its utility.” Authors

Guild v. Google, Inc., 804 F.3d 202, 214 (2d Cir. 2015). “If the secondary use adds value to the

original—if [the original] is used as raw material, transformed in the creation of new

information, new aesthetics, new insights and understandings—this is the very type of activity

that the fair use doctrine intends to protect for the enrichment of society.” Castle Rock, 150 F.3d

at 141 (internal marks and citation omitted). In the case of news reporting, “[c]ourts often find

[transformation] by emphasizing the altered purpose or context of the work, as evidenced by

surrounding commentary or criticism.” Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756

F.3d 73, 84 (2d Cir. 2014). “For a use to be fair, it ‘must be productive and must employ the

quoted matter in a different manner or for a different purpose from the original.’” Cariou, 714




                                                 12
F.3d at 706 (quoting Pierre N. Leval, Toward a Fair Use Standard, 103 Harv. L. Rev. 1105,

1111 (1990)). As the Campbell Court observed, “transformative works . . . lie at the heart of the

fair use doctrine’s guarantee of breathing space.” 510 U.S. at 579.

       Sinclair’s use of the Video was transformative. Nicklen is a conservationist who created

his Video because he believed the bear’s experience was “an accurate representation of the fate

that awaited the world’s polar bear population given the toll that global warming is taking on

their natural habitat.” SAC ¶ 150. Sinclair used the Video for a very different purpose -- to

report on the viral phenomenon of Nicklen’s social media posts. Indeed, the title of the Article

makes plain that its subject is the dissemination of, rather than the content of, the video:

“Starving polar bear goes viral in heartbreaking video.” Similarly, both the first line of the

Article—which notes that “a photograph of a polar bear is grabbing attention”—and the last line

of the Article—which reports that the video “has already reached over 1 million views on

Facebook” in the five days since its posting—amply demonstrate that the primary subject of the

article was the dissemination of the social media posts and their subsequent virality. As Judge

Furman noted in a recent case, “a news report about a video that has gone viral on the Internet

might fairly display a screenshot or clip from that video to illustrate what all the fuss is about.”

Barcroft Media, Ltd. v. Coed Media Grp., LLC, 297 F. Supp. 3d 339, 352 (S.D.N.Y. 2017). That

is exactly the case here—put simply, the posts are the story. In the context of reporting on social

media itself, that is the paradigm of transformative fair use.8




8
  This conclusion is buttressed by the remainder of the Article, which is entirely devoted to
reporting on Plaintiff Nicklen’s own commentary on the Video both on his own social media
posts and in his statements to National Geographic—that is, to the context and circumstances
relevant to the posts, not to merely the subject matter of the Video.



                                                  13
       Two recent cases from this Circuit directly address fair use in the context of reporting on

the content of social media posts. In the first, Walsh v. Townsquare Media, Inc., 464 F. Supp. 3d

570 (S.D.N.Y. 2020), the Court considered a copyright claim brought by a photographer against

an online magazine that had published an article containing an embedded Instagram post made

by well-known rapper and celebrity Cardi B. The Instagram post itself contained the plaintiff’s

copyrighted photograph of Cardi B, and the plaintiff alleged that, because the article reproduced

that Instagram post (including the copyrighted photograph) in total, the article had infringed his

copyright. Id. at 580. The Court disagreed, holding instead that the reproduction of the

Instagram post in the article was a fair use, and dismissing the complaint. Crucially, in

discussing the first fair use factor, the Court concluded that the article’s use of the photograph

was transformative “because the [Instagram] Post—or, put differently, the fact that Cardi B had

disseminated the [Instagram] Post—was the very thing the Article was reporting on.” Id. at 582.

       Similarly, in Boesen v. United Sports Publ’ns, Ltd., No. 20-CV-1552, 2020 U.S. Dist.

LEXIS 203682 (E.D.N.Y. Nov. 2, 2020), the Court considered a copyright claim based on an

article that embedded an Instagram post made by professional tennis star Caroline Wozniacki, in

which she used a copyrighted photograph to announce her retirement. Largely agreeing with the

reasoning in Walsh, the Court in Boesen found that the article’s use of the Wozniacki Instagram

post was a fair use because “it embedded the Instagram post announcing her retirement—which

incidentally included the photograph—because the fact that [Wozniacki] had disseminated that

post was the very thing the Article was reporting on.” Id. at *9 (internal marks and citation

omitted).

       Walsh and Boesen illustrate a clear legal principle—when online publishers reproduce

social media content for the purpose of reporting about the dissemination of the social media




                                                 14
post itself, such reproduction is a transformative use for purposes of the fair use analysis.9 That

is exactly the situation here.10

        Finally, in addition to being transformative, the Article clearly “fits the description of

uses described in § 107” of the Copyright Act, and therefore “there is a strong presumption that

factor one favors the defendant.” NXIVM Corp. v. Ross Inst., 364 F.3d 471, 477 (2d Cir. 2004)

(quoting Wright v. Warner Books, Inc., 953 F.2d 731, 736 (2d Cir. 1991)). Section 107 of the

Copyright Act lists “criticism, comment, news reporting, teaching . . . , scholarship, or research”

as favored uses for application of fair use. 17 U.S.C. § 107. In this case, the Article was self-

evidently a news item, displayed on the website of a local television station, commenting on a

viral video phenomenon that by definition is of interest to many members of the public. See

SAC, Ex. 5. Because the Article fits squarely into one of the identified uses in Section 107, a

strong presumption that the first factor weighs in favor of fair use applies.11


9
  Judge Kaplan similarly granted a motion to dismiss from the bench in a case involving
reporting on a viral video of the plaintiff’s live-streaming the birth of his child, finding it was a
fair use. See Konangataa v. ABC, Nos. 16-cv-7382, 16-cv-7383 & 16-cv-7472 (LAK), 2017
U.S. Dist. LEXIS 95812, at *2-3 (S.D.N.Y. June 21, 2017).
10
  For this reason, this case is distinguishable from McGucken v. Newsweek LLC, 464 F. Supp.
3d 594 (S.D.N.Y. 2020), a fair use case with some similar features decided around the same time
as Walsh and Boesen. In McGucken, the Court acknowledged the legal principle that reporting
on a post itself was protected by fair use, but determined that, on the facts of that case, the article
containing copyrighted content from Instagram had not been about the dissemination of a social
media post itself, but rather that the defendant had used the copyrighted photograph “merely as
an illustrative aid” in an article that had nothing to do with social media. Id. at 606. Here, by
contrast, the headline and content of the Article make clear that its subject was Nicklen’s post,
not the underlying content of the Video, and therefore that the reasoning of Walsh and Boesen,
not McGucken, should apply.
11
  It is well-established in the Second Circuit that a defendant’s status as a for-profit enterprise is
not a dispositive factor in evaluating the purpose and character of the defendant’s use. See
Swatch Grp., 756 F.3d at 83 (“purposes such as . . . news reporting” are set forth in the
Copyright Act as prototypical examples of fair use, 17 U.S.C. § 107, and the Second Circuit has
“recognized that ‘[a]lmost all newspapers, books and magazines are published by commercial
enterprises that seek a profit’” (citation omitted)). Thus, while Courts sometimes evaluate a


                                                  15
       B. The Nature of the Copyrighted Work Favors a Finding of Fair Use

       The second factor in the fair use analysis is the nature of the copyrighted work. Courts

consider “(1) whether the work is expressive or creative, . . . with a greater leeway being allowed

to a claim of fair use where the work is factual or informational, and (2) whether the work is

published or unpublished, with the scope for fair use involving unpublished works being

considerably narrower.” Blanch, 467 F.3d at 256 (quoting 2 Howard B. Abrams, The Law of

Copyright § 15:52 (2006)).

       Here, both aspects of the nature of the copyrighted work favor a finding of fair use. With

respect to publication, Nicklen admittedly published the work at issue on his public social media

accounts. SAC ¶ 151 & n.4. This admission supports a finding of fair use. See, e.g.,

Boesen, 2020 U.S. Dist. LEXIS 203682, at *13 (noting that “the photograph does not incur the

same protections as an unpublished work because plaintiff has published it on his own social

media page and website.”); Arica Inst., Inc. v. Palmer, 970 F.2d 1067, 1078 (2d Cir. 1992)

(holding that second factor favored fair use because work was “a published work available to the

general public”); Bill Graham Archives, LLC v. Dorling Kindersley Ltd., 386 F. Supp. 2d 324,

330 (S.D.N.Y. 2005) (“This circuit has mitigated the importance of creativity in the second

factor where a work is a published work available to the general public” (internal marks and

citation omitted)), aff’d, 448 F.3d 605 (2d Cir. 2006).


defendant’s status, the law is clear that this factor is largely irrelevant to the fair use analysis
where a work was transformative. See, e.g., Authors Guild, 804 F.3d at 219 (commercial
motivation deemed of little significance where there was a “highly convincing transformative
purpose, together with the absence of significant substitutive competition.”); Blanch, 467 F.3d at
254 (where the new work was substantially transformative, “[w]e therefore discount the
secondary commercial nature of the use.” (internal marks and citation omitted)); Arrow Prods.,
Ltd. v. Weinstein Co., 44 F. Supp. 3d 359, 370 (S.D.N.Y. 2014) (“[T]he court does not place very
much significance on this part of the first fair-use factor given the transformative nature of the
work.”).



                                                16
       Likewise, with respect to creativity, the primary function of the Video was to convey

factual information about an event witnessed in real life—specifically, the existence of the

emaciated polar bear. This factor therefore weighs in favor of a finding of fair use, as courts in

this and other circuits have consistently found that video or photographic depictions of real

events are entitled to less protection under this factor—even where, as here, professional

photographers made the images or recordings at issue. See, e.g., Schwartzwald, 2020 U.S. Dist.

LEXIS 165641, at *23 (factor favored fair use where the subjects of a photograph were presented

“‘as they naturally appeared’ without altering their poses or staging their surrounding

environment” (citation omitted)); BWP Media USA, Inc. v. Gossip Cop Media, Inc., 196 F. Supp.

3d 395, 408 (S.D.N.Y. 2016) (factor favored fair use where photographs were taken “to

document their subjects rather than to serve as art pieces”); N. Jersey Media Grp. Inc. v. Pirro,

74 F. Supp. 3d 605, 619-20 (S.D.N.Y. 2015) (photograph of the attacks on the World Trade

Center were “a non-fictional rendering” “created for news gathering or other non-artistic

purposes” and therefore this factor weighed “in favor of fair use” notwithstanding that the

photographer “exhibited great artistry” in capturing the moment); (because photo was “merely a

candid shot in a public setting” factor weighed in favor of fair use). Here, likewise, the “interest

[in the works at issue] derives from their content, not their composition,” and therefore the

factual, documentary nature of the Video weighs in favor of fair use. BWP Media, 196 F. Supp.

3d at 408.12




12
  At most, the Video “contains ‘both informational and creative elements,’” which “renders the
degree of creativity a relatively neutral consideration.” Walsh, 464 F. Supp. 3d at 585 (quoting
BWP Media, 196 F. Supp. 3d at 408). Even if the Video is construed as partially creative, the
neutrality of its creative and information elements, combined with the undisputed fact of
publication, tips the second factor in favor of fair use. Id.



                                                 17
       Finally, notwithstanding that this factor weighs in favor of a finding of fair use, the law is

clear that “the second fair-use factor has limited weight” when the use is transformative. Blanch,

467 F.3d at 257; see also Bill Graham Archives, 448 F.3d at 612 (“the second factor may be of

limited usefulness where the creative work of art is being used for a transformative purpose.”).

That is exactly the case here, for all of the reasons explained in Section III.A, above.

Consequently, this factor should be afforded little weight in the overall analysis.

       C. The Amount and Substantiality of the Portion Used Favors a Finding of Fair Use

       As to the third factor, “the amount and substantiality of the portion used in relation to the

copyrighted work as a whole,” 17 U.S.C. § 107, a court should consider not just the quantity

used, but “whether the quantity and value of the materials used[] are reasonable in relation to the

purpose of the copying.” Cariou, 714 F.3d at 710 (quoting Blanch, 467 F.3d at 257). The

secondary use “‘must be [permitted] to ‘conjure up’ at least enough of the original’ to fulfill its

transformative purpose.” Id. (quoting Campbell, 510 U.S. at 588); Leibovitz v. Paramount

Pictures Corp., 137 F.3d 109, 114 (2d Cir. 1998). “As the Second Circuit has noted, . . . there

are no absolute rules as to how much of a copyrighted work may be copied and still be

considered a fair use.” Pirro, 74 F. Supp. 3d at 620-21 (citing Authors Guild, Inc. v. HathiTrust,

755 F.3d 87, 98 (2d Cir. 2014)). “[T]he extent of permissible copying varies with the purpose

and character of the use.” Campbell, 510 U.S. at 586-87. Indeed, for some purposes, it may be

necessary to copy the entire copyrighted work, and even then the third factor would not weigh

against a finding of fair use. HathiTrust, 755 F.3d at 98; see, e.g., Bill Graham Archives, 448

F.3d at 613.

       Here, Sinclair merely embedded the content—Nicklen’s social media posts—that

comprise the subject of its story. That is the only way Sinclair “could have accomplished [its]




                                                 18
journalistic objective of describing a social media story and providing readers with the relevant

posts.” Walsh, 464 F. Supp. 3d at 586; see also Boesen, 2020 U.S. Dist. LEXIS 203682, at *14

(where defendant sought to report on the fact of a social media post itself, “[o]nly reproducing

that post could achieve that aim.”) Sinclair’s reproduction of the allegedly copyrighted work

was reasonable in relation to its purpose, and the factor therefore weighs in favor of fair use.

        D. The Effect of the Use Upon the Potential Market Favors a Finding of Fair Use

        “Factor Four focuses on whether the copy brings to the marketplace a competing

substitute for the original, or its derivative, so as to deprive the rights holder of significant

revenues because of the likelihood that potential purchasers may opt to acquire the copy in

preference to the original.” Capitol Records, LLC v. ReDigi Inc., 910 F.3d 649, 662 (2d Cir.

2018), cert. denied, 139 S. Ct. 1760 (2019). The Court’s concern in evaluating the fourth factor,

“is not whether the secondary use suppresses or even destroys the market for the original work or

its potential derivatives, but whether the secondary use usurps the market of the original work.”

Cariou, 714 F.3d at 708. A secondary use “usurps” the market “where the infringer’s target

audience and the nature of the infringing content is the same as the original.” Id. at 709. In other

words, “the focus . . . is on whether defendants are offering a market substitute for the original.”

NXIVM, 364 F.3d at 481. When conducting this analysis, “[t]he more transformative the

secondary use, the less likelihood that the secondary use substitutes for the original.” Cariou,

714 F.3d at 709 (citation omitted); Bill Graham Archives, 448 F.3d at 614-5 (secondary use does

not affect the market for the original where it is “transformatively different from their original

expressive purpose”).

        Here, it is clear that the Article does not and cannot “usurp the market” for Nicklen’s

original work. As an initial matter, the social media posts at issue that are embedded in the




                                                   19
Article contain not only the purportedly copyrighted work, but also Nicklen’s commentary on

them, as well as other ancillary aspects of the original posts such as the user’s profile picture, the

date, the number of views, and a box for adding comments. See SAC, Ex. 5. This alone makes

the fourth factor weigh in favor of fair use, because the presence of this additional material

means that no potential user or licensee of Nicklen’s work could use the Article as a substitute

for it. See, e.g., Walsh, 464 F. Supp. 3d at 586 (“[B]ecause the [work] did not appear on its own,

but as part of the [Instagram] Post . . . it is implausible that Defendant’s use would compete with

Plaintiff's business or affect the market or value of her work.”); Boesen, 2020 U.S. Dist. LEXIS

203682, at *15 (same); Clark, 2019 U.S. Dist. LEXIS 46274, at *13 (fourth factor weighed in

favor of fair use where a screenshot of a news article contained not only a copyrighted

photograph, but also the article’s “headline, author byline, and photographer credit.”)

        Moreover, as noted above, the law in this Circuit is clear that “[t]he more transformative

the secondary use, the less likelihood that the secondary use substitutes for the original.” Cariou,

714 F.3d at 709 (citation omitted). The fact that, as explained above, the use at issue here is

clearly transformative, therefore provides an additional reason to conclude that the Article does

not usurp the market for Nicklen’s Video. The fourth factor also weighs in favor of a finding of

fair use.

        Because any direct infringement claim against the Sinclair Defendants cannot be

sustained on fair use grounds, again, Nicklen cannot bring any claims for inducement of

copyright infringement, contributory copyright infringement, or vicarious copyright infringement

against Sinclair Parent. See Arista Records, 633 F. Supp. 2d at 149; Bechler, 2021 U.S. Dist.

LEXIS 41874, at *14.




                                                  20
       Therefore, because Sinclair’s use of the Video was fair, all claims against those

defendants should be dismissed with prejudice.

                                          CONCLUSION

       At bottom, this case seeks to hold at least 118 Sinclair entities and their parent liable for

copyright infringement because they allegedly published an article discussing how a video

plaintiff posted online was spreading virally, and included HTML code in that article allowing

readers to view the video in the location plaintiff originally posted it. As a matter of law, that

does not constitute copyright infringement.

       Even if the allegations in the SAC could support a finding of infringement based on

embedding, Sinclair’s use was manifestly a fair use. The fair use inquiry asks a court to evaluate

“whether the copyright law’s goal of ‘promoting the Progress of Science and useful Arts’ . . .

would be better served by allowing the use than by preventing it.” Castle Rock, 150 F.3d at 141.

That question is readily answered here. As social media takes an ever-more central role in daily

intercourse, the ability for news media and others to disseminate information about what occurs

on social media becomes increasingly more important. The legal propositions underlying this

case—that news organizations may make use of embedding tools to point readers to a work

intended to be shared online, particularly in reporting on those posts themselves—is legally and

logically sound, and entirely consistent with the purposes of the Copyright Act. For these

reasons, and all of the reasons explained above, the Court should enter an order dismissing

Plaintiffs’ claims against the Sinclair Defendants in their entirety, with prejudice, along with any

other relief that the Court finds just and proper.



                                                     21
Dated: March 8, 2021
                            Respectfully submitted,

                            BALLARD SPAHR LLP

                               /s/ Thomas B. Sullivan
                            Thomas B. Sullivan
                            Joseph Slaughter
                            1675 Broadway, 19th Floor
                            New York, NY 10019
                            Telephone: (212) 850-6139
                            Facsimile: (212) 223-1942
                            sullivant@ballardspahr.com
                            slaughterj@ballardspahr.com

                            Counsel for Sinclair Defendants




                       22
